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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                         Plaintiff,


v.
                                                      No:        05-CR- 1849 (JH)


DANA JARVIS,

                         Defendant.


            DEFENDANT DANA JARVIS’ MOTION TO SEAL
HIS MOTION TO DISQUALIFY HIS FORMER COUNSEL, ROBERT GORENCE, AS
      COUNSEL FOR CO-DEFENDANT WILSON, FILED SIMULTANEOUSLY
                              HEREWITH


        Defendant, Dana Jarvis, through counsel of record Joe M. Romero, Jr. and Jody Neal-Post,

hereby requests his Motion to Disqualify His Former Counsel, Robert Gorence, as Counsel for Co-

Defendant Wilson be accepted for and filed under seal, with service to the Court, the United States

and Mr. Wilson only. As grounds, Mr. Jarvis states as follows.


        1.      Defendant Jarvis’ earlier Motion to Seal, Doc. 1118, was resolved by Order at Doc.

1138, which addressed only already filed motions and the sealing of the minutes of the November

20, 2007 hearings and Orders, but did not address prospective filings regarding the sensitive

attorney-client issues in this case.

        2.      Motions to Disqualify always raise ethical issues of reputation, appearances of

impropriety and maintenance of the public’s confidence in the criminal justice system. See e.g. Butler

v. Biocore Med. Techs., Inc., 348 F.3d 1163, 1168 (10th Cir. 2003);(LEXIS search of “appearance of

impropriety” and “Motion to Disqualify” in Tenth Circuit reveals 103 cases on November 29, 2007).

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        3.      It is therefore most prudent for the Court to receive pleadings on Disqualification

initially sealed, subject to the Court’s determination post resolution of the appropriateness of

unsealing.

        4.      The United States opposes sealing.

        5.      Mr. Wilson’s counsel agrees the Chief Magistrate’s order did not address prospective

filings, and does not oppose sealing.

        WHEREFORE, Mr. Jarvis respectfully requests this Court accept his Motion to Disqualify

under seal and order the remaining filings related to this briefing sequence be filed under seal in the

interests of maintenance of the public confidence in the propriety of these criminal proceedings.

                                                       Respectfully submitted:

                                                               Electronically filed 11/29/07
                                                           By: ____________________
                                                               Joe M. Romero, Jr.
                                                               Attorney for Defendant Jarvis
                                                               1905 Lomas NW
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                                                                 Electronically filed 11/29/07
                                                           By: ____________________
                                                                Jody Neal-Post
                                                                Attorney for Defendant Jarvis
                                                                317 Amherst SE
                                                               Albuquerque, NM 87106
                                                               (505) 268-7263


I hereby certify that a true and correct copy of the
foregoing was served on opposing counsel, AUSAs
James Braun and Stephen Kotz, on November 29, 2007.

Electronically filed 11/29/07
____________________________
Joe M. Romero, Jr.




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